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6                                      UNITED STATES DISTRICT COURT
7                                 CENTRAL DISTRICT OF CALIFORNIA
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9     GABRIEL DORSEY,                            )   Case No. CV 20-5612 FMO (RAOx)
                                                 )
10                        Plaintiff,             )
                                                 )
11                 v.                            )   JUDGMENT
                                                 )
12    THRIFTY OIL CO.,                           )
                                                 )
13                        Defendant.             )
                                                 )
14

15          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.
16    Dated this 15th day of October, 2020.
                                                                          /s/
17                                                                Fernando M. Olguin
                                                              United States District Judge
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